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                                   CERTIFICATE OF SERVICE

       I, Roger L. Smerage, hereby certify that on the below date, I caused a copy of the foregoing

Declaration to be served through the Court’s CM/ECF system to the following counsel of record

or by U.S. mail to the following unregistered parties:

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Dated: September 11, 2024
                                                      Roger L. Smerage
